                    Case 3:18-cv-01477-JR       Document 359       Filed 10/04/23   Page 1 of 3



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                                    IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF OREGON
                                             PORTLAND DIVISION

             KELLY CAHILL, et al.,                           Case No. 3:18-cv-01477-JR
                                               Plaintiffs,
                                                             DECLARATION OF BYRON
             vs.                                             GOLDSTEIN IN SUPPORT OF
                                                             PLAINTIFFS’ MOTION FOR LEAVE
             NIKE, INC., an Oregon Corporation,              TO FILE REPLY IN SUPPORT
                                           Defendant.        PLAINTIFFS’ MOTION TO COMPEL
                                                             DISCOVERY

                                                             FILED WITH REDACTIONS




           DECL. OF BYRON GOLDSTEIN IN SUPP. OF PLS.’ MOT. FOR LEAVE TO FILE REPLY
885957.6
                       Case 3:18-cv-01477-JR       Document 359        Filed 10/04/23     Page 2 of 3




                    I, Byron Goldstein, declare as follows:

                    1.     I am a member in good standing of the Bar of the State of California and a Partner

           at the law firm of Goldstein Borgen Dardarian & Ho (“GBDH”) in Oakland, California. I was

           admitted pro hac vice to this Court for this action on August 16, 2018. I and co-counsel

           Markowitz Herbold PC, Ackermann & Tilajef PC, and India Lin Bodien Law represent the

           Plaintiffs. I am providing this declaration in support of Plaintiffs’ Motion for Leave to File

           Reply in support of Plaintiffs’ Motion to Compel Discovery. I have personal knowledge of the

           facts set forth in this declaration and could and would testify competently to them if called upon

           to do so.

                    2.     Plaintiffs’ counsel reached out to Nike’s counsel by email on October 2, 2023 to

           meet and confer on Plaintiffs’ request to file a reply. Plaintiffs’ counsel provided the basis for

           requesting the reply. Plaintiffs’ counsel offered to confer by phone at Nike’s convenience, but

           Nike never agreed to schedule a meeting. Nike disagrees with Plaintiffs’ bases for seeking a

           reply.

                    3.     Nike did not provide a position on Plaintiffs’ request for expedited hearing on the

           motion for leave.

                    4.     A true and correct copy of excerpts from the deposition transcript of

                , taken by Plaintiffs on September 29, 2023, is attached hereto as Exhibit 1.

                    I declare under penalty of perjury under that the foregoing is true and correct, and that

           this Declaration was executed this 4th day of October, 2023 in Oakland, California.



                                                          /s/ Byron Goldstein
                                                          Byron Goldstein




           DECL. OF BYRON GOLDSTEIN IN SUPP. OF PLS.’ MOT. FOR LEAVE TO FILE REPLY
           Page 1
885957.6
Case 3:18-cv-01477-JR   Document 359   Filed 10/04/23   Page 3 of 3




                   Exhibit 1
               Filed Under Seal
